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7                 IN THE UNITED STATES DISTRICT COURT FOR THE
8                          EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,              )
                                            )
11                       Plaintiff,         )     CR F 97-5241-OWW
                                            )
12         v.                               )
                                            )
13   ELEAZAR MONJE,                         )
                                            )
14                       Defendant.         )
                                            )
15
                             ORDER FOR REMISSION OF FINE
16
           This matter is before the court on the petition of the
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     United States for remission of the unpaid portion of the criminal
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     fine owed by the defendant, in accordance with the provisions of
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     18 U.S.C. § 3573.      The court finds it has jurisdiction over the
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     subject matter and the parties, and having reviewed the petition;
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           ORDERS that the unpaid portion of the criminal fine imposed
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     against the defendant Eleazar Monje is hereby remitted.
23
     IT IS SO ORDERED.
24
     Dated: July 8, 2006                    /s/ Oliver W. Wanger
25   emm0d6                            UNITED STATES DISTRICT JUDGE
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